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 5
     Attorney for Defendant
 6   ANGEL PANTOJA-LOPEZ
 7                            IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,                  )      Case № 2:11-CR-0419-TLN-02
                                                )
10                   Plaintiff,                 )         STIPLULATION AND ORDER
                                                )          TO AMEND JUDGMENT BY
11           vs.                                )      EXTENDING SELF-SURRENDER DATE
                                                )
12   ANGEL PANTOJA-LOPEZ,                       )
                                                )
13                   Defendant.                 )
                                                )
14
15          IT IS HEREBY STIPULATED AND AGREED between Defendant ANGEL
16   PANTOJA-LOPEZ, by his counsel, Heather Williams, Federal Defender, through Douglas
17   Beevers, Assistant Federal Defender, and Plaintiff United States of America, by its counsel
18   Benjamin B. Wagner, through Assistant U.S. Attorney Matthew Morris, that the Judgment
19   imposed in this case on May 22, 2014, sentencing PANTOJA-LOPEZ to 27 months in the
20   Bureau of Prisons, with his self-surrender by Thursday June 19, 2014 at 2:00 p.m., be amended
21   to extend the self-surrender date to Thursday June 26, 2014 by 2:00 p.m., based upon the
22   following:
23      PANTOJA-LOPEZ was working for Laser Electric, which had a lighting upgrade job at U.C.
24   San Diego. PANTOJA-LOPEZ gave notice for his last day with Laser Electric to be May 30,
25   but his employer was not able to find someone to fill his position and asked PANTOJA-LOPEZ
26   if he would continue work for a week to help finish the job. PANTOJA-LOPEZ agreed so he
27   would have 1 week's additional pay to give to his mother to help pay storage fees for his
28   property, while thinking he'd still have enough time to pack and store all his belongings, contact

                                                      1               Stipulation To Amend Judgment
                                                                     By Extending Self-Surrender Date
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 1
     his credit card companies, etc., and make it to Sacramento to self-surrender by the current date.
 2
     He did not. He now realizes it would be easier on his mother to finish all this himself and he
 3
     asks for 1 week more to finish all these tasks and get to Sacramento.
 4
        Defense counsel confirmed through PANTOJA-LOPEZ’s pay stub that he worked the
 5
     additional week.
 6
        THEREFORE, the parties move to extend the date for ANGEL PANTOJA-LOPEZ’s self-
 7
     surrender to Thursday, June 26, 2014 by 2:00 p.m.
 8
     SUBMITTED: June 18, 2014.
 9
                                                  HEATHER E. WILLIAMS
10
                                                  Federal Defender
11
                                                  s/ Douglas J. Beevers________
12                                                DOUGLAS J. BEEVERS
                                                  Assistant Federal Defender
13                                                Attorneys for ANGEL PANTOJA-LOPEZ
14                                                BENJAMIN B. WAGNER
                                                  United States Attorney
15
16                                                s/ H. Williams for Matthew Morris
                                                  MATTHEW MORRIS
17                                                Assistant U.S. Attorney
18
                                                  ORDER
19
            IT IS HEREBY BY ORDERED, good cause appearing and upon the stipulations= of the
20
     parties and agreement of Probation,
21
            The Judgment imposed May 22, 2014, is hereby amended to extend the time for
22
     ANGEL PANTOJA-LOPEZ’s self–surrender to Thursday, June 26, 2014 by 2:00 p.m. All
23
     other parts of the Judgment (Doc. 90) remain in full force and effect.
24
25
     Date: June 18, 2014
26
27                                                        Troy L. Nunley
                                                          United States District Judge
28

                                                      2                Stipulation To Amend Judgment
                                                                      By Extending Self-Surrender Date
